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                 10
                                           UNITED STATES DISTRICT COURT
                 11
                              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                 12

                 13
                       BROIDY CAPITAL                         CASE NO. 2:18-CV-02421-JFW-E
                 14    MANAGEMENT LLC, ELLIOTT
                       BROIDY, and ROBIN
                 15    ROSENZWEIG,
                                                              MEMORANDUM OF POINTS &
                 16                  Plaintiffs,              AUTHORITIES IN SUPPORT OF
                                                              MOTION TO QUASH PLAINTIFFS’
                 17         v.                                SUBPOENA FOR PRODUCTION OF
                                                              DOCUMENTS FROM JOSEPH
                 18    STATE OF QATAR,                        ALLAHAM
                       STONINGTON STRATEGIES
                 19    LLC, NICHOLAS D. MUZIN, and
                       DOES 1-10,                             Date: July 13, 2018
                 20                                           Time: 9:30 a.m.
                                     Defendants.              Courtroom: 750
                 21
                                                              Judge:         John F. Walter
                 22                                           Magistrate:    Charles F. Eick
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  LOS A NGELES
                              MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO QUASH
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                   1                MEMORANDUM OF POINTS AND AUTHORITIES
                   2   I.     INTRODUCTION
                   3          Plaintiffs BROIDY CAPITAL MANAGEMENT LLC, ELLIOTT BROIDY,
                   4   and ROBIN ROSENZWEIG’s (together, “Plaintiffs”) subpoena for the production
                   5   of documents from Joseph Allaham (the “Subpoena”) amounts to an improper
                   6   shotgun approach during discovery. It seeks irrelevant documents from Joseph
                   7   Allaham (the “Moving Party”), who is not a party to this action, at an extremely
                   8   early stage in this litigation and is therefore unduly burdensome and oppressive.
                   9   Mr. Allaham has no choice but to protect his rights through this Motion.
                 10           Essentially, Plaintiffs seek copies of all communications and documents
                 11    related to such communications dated May 1, 2017 to the present (including
                 12    undated responsive documents) regarding:
                 13           1.     Plaintiffs with the State of Qatar or with its officials, agents, or
                 14           any persons acting on its behalf, including but not limited to Nicholas
                 15           D. Muzin;
                 16           2.     Payments to Mr. Allaham related to his representation of the
                 17           State of Qatar;
                 18           3.     Mr. Allaham’s retention by the State of Qatar; and
                 19           4.     One or more of the plaintiffs with agents of the State of Qatar,
                 20           including (whether registered or unregistered), including individuals
                 21           or entities associated with, or employed by various enumerated
                 22           corporate entities.
                 23           However, these categories are improper as they seek irrelevant information
                 24    and are oppressive and unduly burdensome. Therefore, together with the fact that
                 25    Plaintiffs’ subpoena for the production of documents is entirely premature, the
                 26    Motion should be granted and the Subpoena should be quashed in its entirety.
                 27    II.    FACTUAL/PROCEDURAL BACKGROUND
                 28           On March 26, 2018, Plaintiffs filed the instant action against Defendants. On
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                   1   April 27, 2018, Plaintiffs stated their intention to file an Amended Complaint, to
                   2   which Defendants consented. Plaintiffs filed their Amended Complaint on May 24,
                   3   2018.
                   4           On May 2, 2018, Plaintiffs served the Subpoena on Mr. Allaham, who is not
                   5   a party to this action.
                   6   III.    ARGUMENT
                   7           A.     The Court Has the Power to Quash the Subpoena
                   8           Under Federal Rule of Civil Procedure 45, when a subpoena requires the
                   9   production of documents, this Court, upon a motion made by a party, may quash or
                 10    modify the subpoena if it “subjects a person to an undue burden.” Fed. R. Civ. P.
                 11    45(d)(3)(A). When determining whether the subpoenaed party has been unduly
                 12    burdened, “the Court should weigh the burden of the subpoenaed party against the
                 13    requested information’s relevance [and the] need of the serving party for the
                 14    information.” Bryant v. Romero, 2017 WL 495634, *2 (E.D. Cal. Feb. 6, 2017).
                 15            Here, all document requests should be quashed in their entirety because they
                 16    are premature, unduly burdensome, and seek entirely irrelevant information.
                 17    Further, the “limited” discovery that has been permitted in this case prior to the
                 18    Rule 26(f) conference, which is currently scheduled for August 6, 2018, should be
                 19    interpreted to encompass only that information which is relevant and necessary to
                 20    Plaintiffs’ case.
                 21            B.     The Subpoena Amounts to a Premature and Improper Effort to
                 22                   Serve Discovery on a Third Party
                 23            Plaintiffs’ subpoena for the production of documents is a premature and
                 24    improper attempt to gain access to information from Mr. Allaham. First, even
                 25    though Plaintiffs are well-aware that Defendants in this matter intend to file a
                 26    motion to stay all discovery on Monday, June 4, 2018, Plaintiffs are unwilling to
                 27    consent to adjourning the time allotted for Mr. Allaham to respond to the subpoena.
                 28    Further, as Plaintiffs are aware and as Defendants will reiterate in their stay
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                   1   motions, there are substantial jurisdictional issues that have yet to be resolved,
                   2   including sovereign immunity with respect to Defendants and personal jurisdiction
                   3   over Defendants. Since Plaintiffs allege a connection between Mr. Allaham and
                   4   Defendants, the logical implication is that Mr. Allaham will be impacted by any
                   5   resolution regarding these jurisdictional issues. Moreover, Plaintiffs have already
                   6   agreed to stay discovery with respect to Defendants but not with respect to Mr.
                   7   Allaham. Plaintiffs’ refusal to stay discovery with respect to Mr. Allaham amounts
                   8   to an improper attempt to burden a third party pending the resolution of numerous
                   9   essential issues. Plaintiffs’ attempt to serve discovery on a third party prior to the
                 10    resolution of Defendants’ motion to stay and of these jurisdictional issues is
                 11    improper.
                 12          Second, as the parties have not yet held a Rule 26(f) conference, burdening a
                 13    third party to produce documents at this time is premature.
                 14          Finally, since Plaintiffs’ subpoena concerns direct communications between
                 15    Plaintiffs and the Defendants in this matter, it is unclear as to why Plaintiffs choose
                 16    to burden Mr. Allaham with multiple requests for communications and related
                 17    documents when Plaintiffs could seek the same discovery from the primary sources.
                 18    See, e.g., Moon v. SCP Pool Corp., 232 F.R.D. 633, 638 (C.D. Cal. 2005) (granting
                 19    nonparty’s motion to quash subpoena, and stating specifically that since “plaintiffs
                 20    have not shown they have attempted to obtain these documents from defendant, the
                 21    Court finds that, at this time, requiring nonparty KSA to produce these documents
                 22    is an undue burden on nonparty KSA”); Haworth, Inc. v. Herman Miller, Inc., 998
                 23    F.2d 975, 978 (Fed. Cir. 1993) (finding that “the district court could properly
                 24    require Herman Miller to seek discovery from its party opponent before burdening
                 25    the nonparty Allsteel with this ancillary proceeding”).
                 26           All of the above indicates that by issuing a subpoena for the production of
                 27    documents from Mr. Allaham at this early stage in the litigation, Plaintiffs are
                 28    engaging in a blatant and improper attempt to end-run restrictions on seeking
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                   1   discovery from Defendants and are unduly burdening Mr. Allaham.
                   2          C.     The Subpoena Is Unduly Burdensome Because it Seeks Irrelevant
                   3                 Information
                   4          This Court has specifically emphasized that “[a]lthough irrelevance is not
                   5   among the litany of enumerated reasons for quashing a subpoena found in Rule 45,
                   6   courts have incorporated relevance as a factor when determining motions to quash a
                   7   subpoena.” SCP Pool Corp., 232 F.R.D. at 637. Further, courts in this circuit have
                   8   held that discovery restrictions may be broader when, as is the case here, a nonparty
                   9   is the target of discovery. See Dart Industries Co., Inc. v. Westwood Chemical Co.
                 10    Inc., 649 F.2d 646, 649 (9th Cir. 1980) (affirming the District Court for the Central
                 11    District of California’s decision to quash subpoena). This Court has also stated that
                 12    subpoenas requesting documents must be specific and tailored to gaining access to
                 13    relevant information. See In re Blunden, 896 F.Supp. 996, 1000 (C.D. Cal. 1995)
                 14    (denying motion to quash but acknowledging that “[a]s originally worded, the
                 15    [movants’] contention that the subpoena is not specific is correct”). Here, all four of
                 16    Plaintiffs’ requests for documents are neither specific enough, nor do they seek
                 17    relevant information. As a result, these requests should be quashed in their entirety.
                 18    IV.    CONCLUSION
                 19           Based on the foregoing, the Moving Party respectfully requests the Court
                 20    grant this Motion as the subpoena is premature, improper, and unduly burdensome
                 21    on the Moving Party.
                 22

                 23    Dated:        June 1, 2018               ARENT FOX LLP
                 24

                 25                                          By:/s/ Allan E. Anderson
                                                               ALLAN E. ANDERSON
                 26                                            CRAIG ENGLE
                                                               Attorneys for JOSEPH ALLAHAM
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